          Case 2:20-cv-00808-RFB-BNW Document 3 Filed 05/06/20 Page 1 of 1



 1
 2
 3                                 UNITED STATES DISTRICT COURT
 4                                         DISTRICT OF NEVADA
 5
 6   CARY LEE PETERSON,                        )
                                               )
 7                       Plaintiff,            )                    Case No. 2:20-cv-00808-RFB-BNW
                                               )
 8   vs.                                       )                    ORDER
                                               )
 9   JOHN DOE 1, et al.,                       )
                                               )
10                       Defendants.           )
     __________________________________________)
11
            Plaintiff Cary Lee Peterson submitted initiating documents to this Court on May 5, 2020.
12
     (ECF No. 1.) Plaintiff did not pay the filing fee for this case or file an application to proceed in
13
     forma pauperis.
14
            If Plaintiff is unable to pay the filing fee in this case, Plaintiff must complete an application
15
     to proceed in forma pauperis under 28 U.S.C. § 1915(a)(1) and Local Special Rule (“LSR”) 1-1.
16
     The court will retain Plaintiff’s complaint (ECF No. 1-1), but will not file it until the matter of the
17
     payment of the filing fee is resolved.
18
            IT IS THEREFORE ORDERED that the Clerk of the Court must send Plaintiff the
19
     approved form application to proceed in forma pauperis, as well as the document titled
20
     “Information and Instructions for Filing an In Forma Pauperis Application.”
21
            IT IS FURTHER ORDERED that by June 5, 2020, Plaintiff must either: (1) file a complete
22
     application to proceed in forma pauperis in compliance with 28 U.S.C. § 1915(a)(1) and LRS 1-1;
23
     or (2) pay the full $400 fee for a civil action, which includes the $350 filing fee and the $50
24
     administrative fee. Plaintiff is advised that failure to comply with this order will result in a
25
     recommendation that his case be dismissed.
26
            DATED: May 6, 2020
27
                                                    ______________________________________
28                                                  Brenda Weksler
                                                    United States Magistrate Judge
